                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE


I~ y~e                                                               Chapter 11

PATRIOT NATIONAL,INC.,et al.,i                                       Case No. 18-10189(_)

                  Debtors.                                           (Joint Administration Requested)



          DEBTORS' MOTION FOR ENTRY OF AN ORDER (I) APPROVING THE
         PROPOSED DISCLOSURE STATEMENT AND FORM AND MANNER OF
         NOTICE OF DISCLOSURE STATEMENT HEARING,(II)ESTABLISHING
            SOLICITATION AND VOTING PROCEDURES,(III) SCHEDULING
           CONFIRMATION HEARING,AND (IV)ESTABLISHING NOTICE AND
         OBJECTION PROCEDURES FOR CONFIRMATION OF THE PROPOSED
         PLAN PURSUANT TO SECTIONS 105, 502, 1125,1126, AND 1128 OF THE
         BANKRUPTCY CODE,BANKRUPTCY RULES 2002,3003,3017,3018,3420
                AND 9006 AND LOCAL RULES 2002-1, 3017-1, AND 9006-1

                 Patriot National, Inc. ("PNI") and its debtor affiliates, as debtors and debtors-in-

possession in the above-captioned cases (collectively, the "Debtors" or "Patriot") respectfully

represent as follows in support of this motion (this "Motion"):


                                          RELIEF REQUESTED

                             Pursuant to sections 105, 502, 1125, 1126, and 1128 of title 11 of the

United States Code (the "Bankruptcy Code"), Rules 2002, 3003, 3017, 2018, 3020, and 9006 of




   The Debtors in these Chapter 11 Cases, along with the last four digits of each Debtors' federal tax identification
   number, are: Patriot National, Inc. (1376); Patriot Services, LLC (1695); TriGen Insurance Solutions, Inc.
   (2501); Patriot Captive Management, LLC (2341); Patriot Underwriters, Inc.(0045); TriGen Hospitality Group,
   Inc.(6557); Patriot Risk Consultants, LLC (0844); Patriot Audit Services, LLC (5793); Patriot Claim Services,
   Inc. (9147); Patriot Risk Services, Inc. (7189); Corporate Claims Management, Inc. (6760); CWIBenefits, Inc.
   (0204); Forza Lien, LLC (7153); Contego Investigative Services, Inc. (0330); Contego Services Group, LLC
   (0012); Patriot Care Management, LLC (2808); Radar Post-Closing Holding Company, Inc. (2049); Patriot
   Technology Solutions, LLC (6855); and Decision UR, LLC (1826). The Debtors' headquarters are located at
   401 East Las Olas Boulevard, Suite 1650, Fort Lauderdale, Florida 33301.




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the Federal Rules of Bankruptcy Procedure (the "Bankruptcy Rules") and Rules 2002-1, 3017-1,

and 9006-1 of the Local Rules of Bankruptcy Practice and Procedure of the United States

Bankruptcy Court for the District of Delaware (the "Local Rules"), the Debtors request entry of

an order:

            i.         approving the form and manner of notice and hearing to consider the proposed
                       Disclosure Statement for the Debtors' proposed Chapter 11 Plan (as may be
                       amended or modified, the "Proposed Disclosure Statement");

            ii.        approving the Proposed Disclosure Statement as containing adequate
                       information pursuant to section 1125 of the Bankruptcy Code;

         iii.          scheduling a hearing (the "Confirmation Hearing") to consider confirmation
                       of the Debtors' proposed Chapter 11 Plan (as may be amended or modified,
                       the "Proposed Plan");

         iv.           approving the below described solicitation procedures for the Proposed Plan;
                       and

            v.         approving the below described confirmation procedures for the Proposed Plan.

                  2.         A proposed form of order granting the relief requested herein is annexed

hereto as Exhibit A (the "Proposed Order").

 FOR THE COU~tT'S COi~VEIYIEI~TCE,THE BELOW CHANT FRDVIDES'THE KEY
               DATES SOUGHT PURSUANT TO THE PRflPQ~ED O~EI~.
Disclosure Statement Objection Deadline   Thursday, Mai•cli 1, 2418 at 4:00 p.m.
                                          (Eastern Time)
Deadline to Reply to Disclosure Statement Tuesday, Mardi 6,2018
Objection(s)
Disclosure Statement Hearing              Thursday, March 8,2018 at 14:00 a.m.
                                            Eastern Time)
Voting Record Date                        Thursday, March 8,2018
Solicitation Date                         The date that is ~~~e business da3~s
                                          follo~~ving entry' of tl;e Proposed Ordei•
                                          (ex ected to be Wednesda ,March 14
Plan Supplement Filing Deadline           Thursday, Apri15,2018
Rule 3018 Motion Deadline                 4:Q0 p.m.(Eastern Time)on the fifth
                                          day after the late• of(i) service of the
                                           Confirmation Hearing Notice, or (ii)
                                          se~-~~ice of notice of an objection, if an3~,
                                          to such Clain.


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Voting Deadline                                             Friday, April 13,2Q18 at 4:aa ~.m.
                                                            (Eastern Time)
Plan Confirmation Objection Deadline                        Friday April 13,2018 at 4:00 p.~n.
                                                            (Eastern Time)
Voting Certification Deadline                               Friday, April 20,2018 at 4:00 p.m.
                                                            (Eastern Time)
Deadline to Reply to Plan Objections) and File              Frida3~, Apri120,2018 at 4:00 p.ni.
Brief in Support of Plan Confirmation                        Easter~~ Time)
Confirmation Hearing                                        Tuesday, April 24,2018 at 10:00 a.ii~.
                                                            (astern Time)

                 3.          For the Court's further reference, the Debtors provide below a list of the

various exhibits and documents cited throughout the Motion:

                              ~OCAI1i~i2t                                    ~7i~11~}l~

   Proposed Order                                             Exhibit A to this Motion
   Proposed Disclosure Statement                              D.I. 16
    Proposed Plan                                             D.I. 15
    Notice of Disclosure Statement Hearing                    Exhibit 1 to the Proposed Order
    Ballots                                                   Exhibits 2-5 to the Proposed Order
    Notice ofNon-Voting Status —Unimpaired                    Exhibit 6 to the Proposed Order
    Classes
    Notice ofNon-Voting Status —Impaired Classes              Exhibit 7 to the Proposed Order
    Confirmation Hearing Notice                               Exhibit 8 to the Proposed Order

                                      JURISDICTION AND VENUE

                 4.          The Court has jurisdiction over the Application pursuant to 28 U.S.C.

§§ 157 and 1334 and the Amended Standing OrdeN ofRefeNence ofthe United States District

Courtfor the DistNict ofDelawaNe, dated February 29, 2012. This matter is a core proceeding

within the meaning of 28 U.S.C. § 157(b)(2), and the Debtors confirm their consent pursuant to

Local Rule 9013-1(~ to the entry of a final order by the Court in connection with this Motion to

the extent that it is later determined that the Court, absent consent ofthe parties, cannot enter

final orders or judgments in connection herewith consistent with Article III ofthe United States

Constitution. Venue is proper before this Court pursuant to 28 U.S.C. §§ 1408 and 1409.


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                5.        The statutory and rule bases for the relief requested herein are sections

105, 502, 1125, 1126, and 1128 of the Bankruptcy Code, Rules 2002, 3003, 3017, 2018, 3020,

and 9006 of the Bankruptcy Rules, and Rules 2002-1, 3017-1, and 9006-1 ofthe Local Rules.

                                            BACKGROUND

                6.        On January 30, 2018 (the "Petition Date"), the Debtors commenced their

bankruptcy cases by filing voluntary petitions for relief under chapter 11 of the Bankruptcy Code

(the "Chapter 11 Cases"). No trustee, examiner or creditors' committee has been appointed in

the Chapter 11 Cases. The Debtors are operating their respective businesses as debtors-in-

possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code.

                 7.          On the Petition Date, the Debtors filed the Proposed Plan and the

Proposed Disclosure Statement in accordance with the terms of the Restructuring Support

Agreement(the "RSA")dated as of November 28, 2017 between the Debtors and certain holders

of 100% of the aggregate outstanding principal amount owed under the Financing Agreement,

dated as of November 9, 2016 (the "Consenting Lenders"). Pursuant to the terms of the RSA,

the Consenting Lenders agreed to vote in favor of, and otherwise support, the Proposed Plan,

provided that certain conditions and milestones are satisfied. The .Proposed Plan provides,

among other things:

                      • Holders of DIP Claims, Administrative Expense Claims and Priority Tax
                        Claims will, unless otherwise agreed among the Holder, the Debtors and
                        the First Lien Agent, be paid in full in cash on the Effective Date of the
                        Plan;

                      o      Holders of Allowed Priority Claims will, unless otherwise agreed among
                             the Holder, the Debtors and the First Lien Agent, be paid in full in cash
                             on the Effective Date of the Plan;

                      • Holders of Secured First Lien Lender Claims will receive their pro rata
                        share of each of (i) the New Equity Interests (ii) the New Term Loan
                        Facility;



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                     • Holders of First Lien Lender Deficiency Claims will receive their pro rata
                       share of the Litigation Trust Interests in the Litigation Trust distributable
                       to Holders of First Lien Lender Deficiency Claims and representing a right
                       to receive distributions from the Litigation Trust in accordance with the
                       Litigation Proceeds Waterfall.

                     • Holders of Continuing Vendor Claims and Continuing Retail Agent
                       Claims will be paid (a)in the ordinary course of business in accordance
                       with any invoice, contract or other agreement governing the terms of such
                       payment, or (b)if such amounts are overdue as of the Effective Date, in
                       two equal installments with the first such installment being made on the
                       Effective Date and the second being made on the date that is the six month
                       anniversary of the Effective Date assuming compliance by the Holder with
                       its Continuing Vendor Agreement or Continuing Retail Agent Agreement,
                       as applicable;

                     • Holders of General Unsecured Claims (other than Continuing Vendor
                       Claims and Continuing Retail Agent Claims) will receive their pro rata
                       share of the Litigation Trust Interests in the Litigation Trust distributable
                       to Holders of Allowed General Unsecured Claims and representing a right
                       to receive distributions from the Litigation Trust in accordance with the
                       Litigation Proceeds Waterfall and GUC Cash Pool Waterfall;

                     • Intercompany claims of the Debtors will be extinguished on the Effective
                       Date of the Plan; and

                     • Existing equity interests in the Debtors will be extinguished on the
                       Effective Date ofthe Plan.

               8.          The events leading up to the Petition Date and the facts and circumstances

supporting the relief requested herein are set forth in the Declaration ofJaines S. Feltman, Chief

RestructuNing Officer' of PatNzot National, Inc., in Support of FiNst Day Relief(the "Feltman

Declaration"), filed contemporaneously herewith.

                           THE PROPOSED DISCLOSURE STATEMENT

                9.         Under section 1125 of the Bankruptcy Code and Bankruptcy Rule

3016(b), the Debtors prepared and filed the Proposed Disclosure Statement to provide parties

adequate information and disclosure regarding the terms of the Proposed Plan. The Debtors




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intend to provide parties with copies of the Proposed Disclosure Statement, once approved, in

connection with the Debtors' solicitation of votes to accept or reject the Proposed Plan.

I.       Approval of the Disclosure Statement

                10.     Pursuant to section 1125(b) of the Bankruptcy Code, a plan proponent

must provide holders of impaired claims and equity interests with "adequate information"

regarding a proposed chapter 11 plan of reorganization. Section 1125(a)(1) of the Bankruptcy

Code defines "adequate information" as:

                information of a kind, and in sufficient detail, as far as is
                reasonably practicable in light of the nature and history of the
                debtor and the condition of the debtor's books and records,
                including a discussion of the potential material Federal tax
                consequences of the plan to the debtor, any successor to the debtor,
                and a hypothetical investor typical of the holders of claims or
                interests in the case, that would enable such a hypothetical investor
                ofthe relevant class to make an informed judgment about the plan.

11 U.S.C. § 1125(a)(1).

                11.         Accordingly, a debtor's disclosure statement must provide sufficient

information to permit impaired creditors entitled to vote on the plan to make an informed

judgment. See, e.g., Century Glove, Inc. v. FiNst Am, Bank of N.Y., 860 F.2d 94, 100 (3d Cir.

1988) ("[Section] 1125 seeks to guarantee a minimum amount of information to the creditor

asked for its vote."); In ~e Phoenzx PetNoleurn, Co., 278 B.R. 385, 392 (Bankr. E.D. Pa. 2001)

("[T]he general purpose of the disclosure statement is to provide `adequate information' to

enable `impaired' classes of creditors and interest holders to make an informed judgment about

the proposed plan and determine whether to vote in favor of or against that plan."). The essential

requirement of a disclosure statement is that it "`clearly and succinctly informs] the average

unsecured creditor what it is going to get, when it is going to get it, and what contingencies there




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are to getting its distribution."' In Ne Keisler, No. 08-34321, 2009 WL 1851413, at *4 (Bankr.

E.D. Tenn. June 29, 2009)(quoting In ~e FerNetti, 128 B.R. 16, 19(Bankr. D.N.H. 1991)).

                 12.         Whether a disclosure statement required under section 1125(b) contains

adequate information "is not governed by any otherwise applicable nonbankruptcy law, rule, or

regulation." 11 U.S.C. § 1125(d). Instead, bankruptcy courts have broad discretion to determine

the adequacy of the information contained in a disclosure statement. See, e.g., In Ne Lisanti

Foods, Inc., 329 B.R. 491, 507 (D.N.J. 2005) ("Section 1125 affords the Bankruptcy Court

substantial discretion in considering the adequacy of a disclosure statement.")(citing In re River

Village Assoc., 181 B.R. 795, 804 (E.D. Pa. 1995)); In ~e Phoenix Petroleum Co., 278 B.R. at

393 (noting that the determination of what is adequate information is "largely within the

discretion of the bankruptcy court") (quoting Texas Extrusion Corp. v. Lockheed Corp. (In Ne

Texas Extrusion Corp.), 844 F.2d 1142, 1157 (5th Cir. 1988)). Congress granted bankruptcy

courts such wide discretion in determining the adequacy of a disclosure statement to facilitate

effective reorganizations of debtors in a broad range of businesses, taking into account the

various circumstances that accompany chapter 11 cases. See H.R. REP. No. 95-595 at 408-09

(1977); see also In ~e Copy Crafters Quickprint Inc., 92 B.R. 973, 979 (Bankr. N.D.N.Y. 1988)

(noting that the adequacy of a disclosure statement "is to be determined on acase-specific basis

under a flexible standard that can promote the policy of Chapter 11 towards fair settlement

through a negotiation process between informed interested parties").              Accordingly, the

determination of whether a disclosure statement contains adequate information is made on a

case-by-case basis, focusing on the unique facts and circumstances_ of each case. See Oneida

Motor Freight, Inc. v. United Jersey Bank, 848 F.2d 414, 417 (3d Cir. 1988) ("From the




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legislative history of § 1125 we discern that adequate information will be determined by the facts

and circumstances of each case.")

                13.          In that regard, in determining whether a disclosure statement contains

adequate information, courts generally examine a list of factors, including, but not limited to,

whether the disclosure statement contains the following types of information, as applicable:

                               the circumstances that gave rise to the filing of the bankruptcy petition;

                       ii.     an explanation of the available assets and their value;

                      iii.     the anticipated future of the debtor(s);

                      iv.      the source of the information provided in the disclosure statement;

                       v.      a disclaimer, which typically indicates that no statements or
                               information concerning the debtor or its assets or securities are
                               authorized, other than those set forth in the disclosure statement;

                      vi.      the condition and performance ofthe debtor while in chapter 11;

                      vii.      information regarding claims against the estate;

                   viii.        a liquidation analysis setting forth the estimated return that creditors
                                would receive under chapter 7;

                      ix.       the accounting and valuation methods used to produce the financial
                                information in the disclosure statement;

                       x.       information regarding the future management of the debtor, including
                                the amount of compensation to be paid to any insiders, directors, and/or
                                officers ofthe debtor;

                       xi.      a summary of the plan of reorganization or liquidation;

                      xii.      an estimate of all administrative expenses, including attorneys' fees and
                                accountants' fees;

                   xiii.        the collectability of any accounts receivable;

                      xiv.      any financial information, valuations, or pro forma projections that
                                would be relevant to creditors' determinations of whether to accept or
                                reject the plan;




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                    xv,        information relevant to the risks being taken by the creditors and
                               interest holders;

                   xvi.        the actual or projected value that can be obtained from avoidable
                               transfers;

                  xvii.        the existence, likelihood, and possible success of non-bankruptcy
                               litigation;

                  xviii.       the tax consequences of the plan; and

                   xix.        the relationship of the debtor with its affiliates.

See, e.g., In re Scioto Valley MoNtg. Co,, 88 B.R. 168, 170-71 (Bankr. S.D. Ohio 1988); see also

In Ne Oxford Homes, Inc., 204 B.R. 264, 269 n.17 (Bankr. D. Me. 1997)(using a similar list).

Such a list is not meant to be comprehensive and a debtor is not required to provide all the

information on the list. Rather, the bankruptcy court must decide what is appropriate in each

case in light of the particular facts and circumstances present. See FeNretti, 128 B.R. at 18-19

(adopting a similar list); see also In Ne Phoenix Petroleum Co., 278 B.R. at 393(making use of a

similar list but cautioning that "no one list of categories will apply in every case").

                 14.          The Proposed Disclosure Statement provides many of the types of

information identified in the applicable categories above, including, but not limited to:

                        i.      an overview of the Proposed Plan(§ I.C);

                       ii.      key events leading to the commencement of the Debtors' chapter 11
                                cases (§§ II, III);

                       iii.     the operation of the Dabtors' business(§ II);

                       iv.      the indebtedness of the Debtors and information regarding pending
                                claims and administrative expenses(§§ II, IV.B);

                        v.      a disclaimer, which typically indicates that no statements or
                                information concerning the debtor or its assets or securities are
                                authorized, other than those set forth in the disclosure statement
                                (§ V.D);

                       vi,      anticipated events during the chapter 11 cases(§ IV);


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                    vii.       an overview of a liquidation analysis under chapter 7(Ex. E);

                   viii.       the accounting and valuation methods used to produce the financial
                               information in the disclosure statement(Ex. F);

                       ix.     risk factors affecting the Debtors(§ V);

                        x.     the relationship of the Debtors with their affiliates(§ II.A);

                       xi.     a summary of the plan of reorganization or liquidation(§ IV);

                    xii.       any financial information, valuations, or pro ,forma projections that
                               would be relevant to creditors' determinations of whether to accept or
                               reject the plan(Ex. G);

                    xiii.      requirements for confirmation of the Proposed Plan(§ VII.B); and

                    xiv.       the tax consequences of the Proposed Plan(§ IX).

                 15.         In addition to the type of information that courts typically look for in a

disclosure statement, the Proposed Disclosure Statement provides an analysis of the alternatives

to confirmation and consummation of the Proposed Plan (§ VII.C), and concludes with the

Debtors' recommendation that holders of Claims eligible to vote should vote to accept the

Proposed Plan because it provides the highest and best recoveries to holders of Claims against

the Debtors(§ X).

                 16.         Based on the foregoing, the Debtors submit that the Proposed Disclosure

Statement contains sufficient information for a voting creditor to make an informed judgment

regarding whether to vote to accept or reject the Proposed Plan. Thus, the Debtors respectfully

request that the Court approve the Proposed Disclosure Statement as containing adequate

information in satisfaction of the requirements of section 1125 of the Bankruptcy Code.

II.        The Prot~osed Disclosure Statement Pro~~ides Adequate Notice of Release,
           exculpation, and Injunction Provisions in the Proposed Plan

                  17.        Pursuant to Bankruptcy Rule 3016(c), "[i]f a plan provides for an

injunction against conduct not otherwise enjoined under the Code, the plan and disclosure


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 statement [must] describe in specific and conspicuous language (bold, italic, or underlined text)

 all acts to be enjoined and identify the entities that would be subject to the injunction." Fed. R.

 Bankr. P. 3016(c).

                  18.      The Proposed Plan includes injunctions, releases, and exculpations

 highlighted in bold in Articles XI.F, G, and H. The Proposed Disclosure Statement in sections

 IV.G.7 and 8 describes in detail the releases provided under the Proposed Plan, the entities

 providing such releases, the entities being released, and the Claims and Causes of Action so

 released. Additionally, section IV.G.9 of the Proposed Disclosure Statement sets forth the terms

 of the exculpation provision under the Proposed Plan, and section IV.G.10 sets forth the

 injunction related to the release and exculpation provisions in the Proposed Plan. Each of the

 foregoing sections is set forth in conspicuous, bold print. Accordingly, the Debtors respectfully

 submit that the Proposed Disclosure Statement complies with Bankruptcy Rule 3016(c).

III.        Approval of the Notice of Disclosure Statement Hearin

                   19.     In accordance with Bankruptcy Rules 3017(a) and 2002 and Local Rule

 3017-1, in connection with the filing of this Motion, the Debtors propose to serve by Febuary 1,

 2018 a notice of the hearing on approval of the Proposed Disclosure Statement (the "Disclosure

  Statement Notice"), in the form annexed hereto as Exhibit 1, by electronic transmission and/or

  by first class mail on (i) the Office of the United States Trustee for the District of Delaware;

 (ii) counsel for Cerberus Business Finance, LLC, as the administrative agent for the proposed

  DIP Lenders and for the prepetition secured lenders; and (iii) those parties listed on the list of

  creditors holding the twenty (20) largest unsecured claims against the Debtors(on a consolidated

  basis), as identified in their chapter 11 petitions (collectively, the "Notice Parties"); and (v) any

  other party entitled to notice pursuant to Bankruptcy Rule 2002.



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                 20.      In addition, the Debtors have provided, or will provide, at their expense,

by electronic and/or first class mail, copies of the Proposed Disclosure Statement and the

Proposed Plan with the Disclosure Statement Notice to: (a) the U.S. Trustee; (b) any Official

Committee of Unsecured Creditors that may be appointed in this case; (c) the Securities and

Exchange Commission;(d) state and local taxing authorities in jurisdiction in which the Debtors

do business,(e) the United States Attorney for the District of Delaware,(~ the Internal Revenue

Service,(g) all parties that request or that are required to receive notice pursuant to Bankruptcy

Rule 2002; and (h) all parties who have specifically requested such documents in the manner

specified in the Disclosure Statement Notice. Copies of the Proposed Disclosure Statement and

the Proposed Plan are also on file with the Office of the Clerk of the Bankruptcy Court for

 review during normal business hours (a fee may be charged) and are also available free-of-

 charge on the Debtors' claims agent's website at http://cases.primeclerk.com/patnat.

                  21.     The Debtors submit that the foregoing procedures provide adequate notice

 of the Disclosure Statement Hearing for all purposes and, accordingly, request that the Court

 approve such procedures.as adequate.

IV.        Approval of Procedures for the Filing of Ob.iections to the Disclosure
           Statement

                  22.         The Debtors propose the procedures described below for any parties to

 object or respond to the approval of the Proposed Disclosure Statement (the "Disclosure

 Statement Objection Procedures").

                  23.         The Debtors propose that objections and responses, if any, to approval of

 the Proposed Disclosure Statement, must: (a) be in writing; (b)conform to the applicable

 Bankruptcy Rules and the Local Rules; (c)set forth the name of the objecting party and the




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nature and amount of Claims or Interests held or asserted by such party against the Debtors'

estate or property; and (d) provide the basis for the objection and the specific grounds therefor.

                24.      The Debtors further propose that registered users of the Bankruptcy

Court's case filing system must electronically file their objections and responses. All other

parties-in-interest must file their objections and responses in writing, together with proof of

service thereof, with the United States Bankruptcy Court Clerk's Office, 824 Market Street, 3rd

Floor, Wilmington, Delaware 19801.

                25.      In accordance with Bankruptcy Rule 3017(a), any objection or response

also must be served upon the following parties:

Debtors                                             Office ofthe ~Inited States Trustee
Patriot National, Inc.                              Office of the United States Trustee for the
Attn: Gex F. Richardson                             District of Delaware
40.1 East Las Olas Boulevard                        Attn: Linda Casey
Fort Lauderdale, Florida 33301                      J. Caleb Boggs Federal Building
                                                    844 King Street, Suite 2207
                                                    Wilmington, Delaware 19801
                                                    Telephone: (302)573-6491
                                                    Facsimile: (302)573-6497
Proposed Coransel to the Debtors                    Proposed Co-Counsel to the Debtors
Hughes Hubbard &Reed LLP                            Pachulski Stang Ziehl &Jones LLP
Attn: Kathryn A. Coleman                            Attn: Laura Davis Jones
      Christopher Gartman                                 James E. O'Neill
      Dustin P. Smith                                     Peter J. Keane
One Battery Park Plaza                              919 North Market Street, 17th Floor
New York, New York 10004-1482                       P.O. Box 8705
Telephone: (212) 837-6000                           Wilmington, Delaware 19899-8705
Facsimile: (212)422-4726                            (Courier 19801)
Email: katie.coleman@hugheshubbard.com              Telephone: (302)652-4100
        Chris.gartman@hugheshubbard.com             Facsimile: (302)652-4400
        dustin.smith@hugheshubbard.com              Email: ljones@pszjlaw.com
                                                           joneill@pszjlaw.com
                                                            pkeane@pszjlaw.com




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Cordfasel to Cerberus                                  Co-Coa~nsel to CerberiLs
Schulte Roth &Zabel LLP                                Landis Rath &Cobb LLP
Attn: Adam Harris                                      Attn: Adam G. Landis
      Taejin Kim                                             Kerri K. Mumford
919 Third Avenue                                       919 North Market Street, Suite 1800
New York,New York 10022                                Wilmington, Delaware 19801
Telephone: (212)756-2000                               Telephone: (302)467-4400
Facsimile: (212)593-5955                               Facsimile: (302)467-4450
Email: Adam.Harris@srz.com                             Email: landis@lrclaw.com
        Tae.Kim@srz.com                                        mumford@lrclaw.com


Additionally, the Debtors propose that any objections or responses will be served upon any other

entity designated by the Court (collectively with the above, the "Notice Parties") so as to be

actually received by the Notice Parties no later than March 1, 2018 ~t 4:Q0 p.m. (Eastern

Time).

                 26.      Requiring objections and responses to the Proposed Disclosure Statement

to be filed and served in accordance with the Disclosure Statement Objection Procedures will

afford the Court, the Debtors, and other parties-in-interest sufficient time before the Disclosure

Statement Hearing to consider and potentially resolve any objections and responses to the

Proposed Disclosure Statement. Based upon the foregoing, the Debtors respectfully request that

the Court find that the Disclosure Statement Objection Procedures comply with the requirements

of Bankruptcy Rule 3017(a).

                                  THE SOLICITATION PROCEDURES

                  27.         In connection with the Proposed Disclosure Statement and Proposed Plan,

the Debtors propose to implement the solicitation and balloting procedures described below. The

 Debtors filed or will file applications (i) for entry of an Order authorizing the Debtors to retain

 and employ Prime Clerk LLC ("Prime Clerk") as its claims and noticing agent and (ii) for entry

 of an order authorizing the Debtors to retain and employ Prime Clerk as the Debtor's


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administrative agent under 11 U.S.C. § 327(a) to implement the solicitation and balloting

procedures described below.

I.        Parties Entitled to Vote

                 28.      Pursuant to the Proposed Plan, the Debtors have created nine (9) classes of

Claims and Interests. Of those classes, the Debtors submit that the following classes are

impaired but entitled to receive distributions under the Proposed Plan, and thus may vote to

accept or reject the Proposed Plan, subject to certain exceptions discussed below (the "Voting

Classes")

                   Class                                  Descri tiara
                 Class 1 A                    Secured First Lien Lender Claims
                 Class 1 B                   First Lien Lender Deficiency Claims
                                    Continuing Vendor Claims and Continuing Retail Agent
                  Class 4                                   Claims
                  Class 5                          General Unsecured Claims
                  Class 6                             Subordinated Claims


                  29.     To the extent that any of the following is true, a creditor who holds a claim

in a Voting Class is nonetheless not entitled to vote to the extent that:

                 (a)          as of the Voting Record Date (as defined below), the outstanding amount
                              of such creditor's Claim is zero ($0.00);

                 (b)          as of the Voting Record Date, such creditor's Claim has been disallowed,
                              expunged, disqualified or suspended;

                 (c)          such creditor's Claim is subject to an objection or request for estimation as
                              ofthe Voting Record Date, subject to the procedures set forth below.

                  30.         Section 11260 of the Bankruptcy Code provides that, for the purposes of

soliciting votes on confirmation of a plan of reorganization,"a class that is not impaired under a

plan, and each holder of a claim or interest of such class, are conclusively presumed to have

 accepted the plan, and solicitation of acceptances with respect to such class from the holders of

 claims or interests of such class is not required." 11 U.S.C. § 11260.

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                 31.      The Proposed Plan does not impair certain Claims and Interests. Pursuant

to section 1126 of the Bankruptcy Code, the holders of such Claims and Interests are unimpaired

and, therefore, deemed to accept the Proposed Plan pursuant to section 11260 of the Bankruptcy

Code. Moreover, certain classes are impaired and otherwise not entitled to receive a distribution

under the Proposed Plan and, therefore, deemed to reject pursuant to section 1126(g) of the

Bankruptcy Code (collectively, the "Non-Voting Creditors and Interest Holders").

                 32.      Holders of Claims or Interests in the following classes constitute Non-

Voting Creditors and Interest Holders who are not entitled to vote (collectively, the "Non-Voting

Classes"):

              Class                Descri tion            I~ airment   Acre tancelIte'ection
             Class 2          Other Secured Claims        Unimpaired    Presumed to accept
             Class 3             Priority Claims          Unimpaired    Presumed to accept
             Class 7          Intercompany Claims          Impaired      Deemed to reject
             Class 8             Equity Interests          Impaired      Deemed to reject


                  33.     Because Class 2(Other Secured Claims) and Class 3 (Priority Claims) are

presumed to accept the Proposed Plan, in an effort to conserve the resources of the Debtors'

estates, the Debtors propose to send to holders of such Claims a notice of non-voting status,

substantially in the form annexed hereto as Exhibit 6 ("Notice of Non-Voting Status —

Unimpaired Classes"), which sets forth the manner in which a copy of the Proposed Plan and

Disclosure Statement may be obtained.           These Classes will also receive the Confirmation

 Hearing Notice (defined below). The Debtors submit that such notice satisfies the requirements

 of Bankruptcy Rule 3017(d). The Debtors request that the Court determine that it is not required

 to distribute copies of the Proposed Plan or Disclosure Statement to any holder of an unimpaired

 Claim unless otherwise requested.




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                 34.      Class 7 (Intercompany Claims) and Class 8 (Equity Interests) are not

entitled to any recovery under the Proposed Plan and, therefore, are deemed to reject the

Proposed Plan. Accordingly, pursuant to section 1126(g) of the Bankruptcy Code, holders of

such Claims or Interests are not entitled to vote. Therefore, the Debtors propose to send to the

holders of Claims or Interests in Class 8 a notice of non-voting status, substantially in the form

annexed hereto as Exhibit 7 ("Notice of Non-Voting Status —Impaired Classes") and the

Confirmation Hearing Notice. The Debtors request that the Court determine that it is not

required to distribute copies of the Proposed Plan or Disclosure Statement to any holder of a

Claim or Interest in Class 7 or Class 8 unless otherwise requested. Additionally, with respect to

Class 7 (Intercompany Claims), the Debtors request a waiver of any requirement to serve a

Notice of Non-Voting Status or any other type of notice in connection with solicitation of the

Proposed Plan because such Claims are held by the Debtors' affiliates and are deemed to reject

the Proposed Plan under section 1126(g) of the Bankruptcy Code.

II.        Temporary Allo~~vance/Disallo~~vance of Claims

                  35.     Pursuant to section 1126(a) of the Bankruptcy Code, the holder of an

"allowed" claim may accept or reject a chapter 11 plan. A class of claims accepts a plan if such

plan has been accepted by creditors that hold at least two-thirds in amount and more than one-

 half in number of the allowed claims of such class held by creditors that voted. 11 U.S.C.

§ 1126(c). Bankruptcy Rule 3018(a) provides that the "court after notice and hearing may

temporarily allow the claim or interest in an amount which the court deems proper for the

 purpose of accepting or rejecting a plan." Fed. R. Bankr. P. 3018(a).

                  36.         Solely for purposes of voting to accept or reject the Plan and not for the

 purpose of the allowance of, or distribution on account of a Claim, and without prejudice to the

 rights of the Debtors or the applicable creditor in any other context, the Debtors propose that

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each Claim within Voting Classes be temporarily allowed in an amount equal to the amount of

such Claim as set forth in a timely filed proof of Claim, or, if no proof of Claim was filed, the

amount of such Claim as set forth in the Schedules. The foregoing general procedure will be

subject to the following exceptions:

               (a)      If a Claim is deemed Allowed (as defined in the Proposed Plan), pursuant
                        to the Proposed Plan, except to the extent set forth herein, such Claim
                        shall be Allowed for voting purposes in the deemed Allowed amount set
                        forth in the Proposed Plan;

               (b)      If a Claim, for which a proof of Claim has been timely filed, is wholly
                        contingent, unliquidated, or disputed as set forth on the proof of Claim (or
                        based on a reasonable review of the proof of Claim and any supporting
                        documentation), such Claim shall be allowed for voting purposes only,
                        and not for purposes of allowance or distribution, at $1.00, unless such
                        Claim is disputed in the manner set forth in subparagraph 36(g) below;

                (c)     If a Claim, for which a proof of Claim was timely filed, lists an amount
                        that is wholly liquidated and noncontingent, such Claim shall be
                        temporarily allowed in the amount set forth on the proof of Claim; unless
                        such claim is disputed in the manner set forth in subparagraph 36(g)
                        below;

                (d)         If a Claim, for which a proof of Claim was timely filed, lists an amount
                            that is partially liquidated and partially unliquidated, such Claim shall be
                            temporarily allowed only in the liquidated amount set forth on the proof of
                            Claim, unless such claim is disputed in the manner set forth in
                            subparagraph 36(g) below;

                (e)         If a Claim has been estimated for voting purposes or otherwise allowed for
                            voting purposes by order of the Court, such Claim shall be allowed in the
                            amount so estimated or allowed by the Court for voting purposes only, and
                            not for purposes of allowance or distribution, unless otherwise provided
                            by order of the Court;

                (~          If a Claim is listed in the Schedules as contingent, unliquidated, disputed,
                            in the amount of $0.00, or unknown, and a proof of Claim has not been
                            timely filed, such Claim shall be allowed for voting purposes only, and not
                            for purposes of allowance or distribution, at $1.00;

                (g)         If the Debtors serve an objection to, or request for estimation of, a Claim
                            at least 10 days before the Voting Deadline, such Claim shall be
                            temporarily disallowed for voting purposes only and not for purposes of




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                        allowance or distribution, except to the extent and in the manner as may be
                        set forth in the objection or request for estimation;

               (h)      If the Debtors serve an objection to a Claim at least 10 days before the
                        Voting Deadline, and the relief sought in that objection is to supersede one
                        or more scheduled Claims with a filed Claim, such scheduled Claim shall
                        be temporarily disallowed for voting purposes only and not for purpose of
                        allowance or distribution; provided, however, that in the event the holder
                        of such Claims has returned only the Ballot in connection with the
                        scheduled Claim(s), such Ballot shall be counted in the amount of the filed
                        Claim;

               (i)      For purposes of voting, classification, and treatment under the Proposed
                        Plan, each party that holds or has filed more than one Claim in a particular
                        class shall be treated as if such entity has only one Claim, the Claims filed
                        by such entity shall be aggregated, and the total dollar amount of such
                        Claims shall be the sum of the aggregated Claims of such entity;

               (j)      For purposes of voting, classification, and treatment under the Proposed
                        Plan, Prime Clerk will not tabulate a vote cast on account of a Claim that
                        is clearly duplicative of another voting Claim;

               (k)      Notwithstanding anything contained herein to the contrary, Prime Clerk,
                        in its discretion, may contact entities entitled to vote to cure any defects in
                        the Ballots and is authorized, but not obligated, to so cure any defects;

                (1)         There shall be a rebuttable presumption that in the case where more than
                            one timely, properly completed Ballot is received, only the latest received,
                            properly completed Ballot will be counted unless the holder of the Claim
                            receives Court approval to have the Ballot that was received earlier be
                            counted;

               (m)          If a Claim is filed in the amount of $0.00, the holder of such Claim shall
                            not be entitled to vote on account of such Claim; and

                (n)         If a Claim is filed in a currency other than U.S. Dollars and is not allowed
                            in a sum certain pursuant to the Plan, the holder of such Claim shall be
                            entitled to vote a Claim in the amount of $1.00.

                37.         Notwithstanding the foregoing, the claim amount of a Class lA-1B Claim

Holder for voting purposes only will be established based on the amount of the applicable

portions held by such Holder, as of the Voting Record Date, as evidenced by the applicable

records provided by the First Lien Agent in electronic Microsoft Excel format to the Debtors or

the Claim and Noticing Agent no later than one business day following the Voting Record Date.

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                38.      The Debtors believe that the foregoing proposed procedures provide for a

fair and equitable voting process. If any party seeks to challenge the allowance of a Claim for

voting purposes in accordance with the above procedures, the Debtors request that the Court

direct such creditor to serve on the Debtors and file with the Court (with a copy to Chambers) a

motion for an order pursuant to Bankruptcy Rule 3018(a) temporarily allowing such Claim in a

different amount for purposes of voting to accept or reject the Plan on or before the fifth day

after the later of (i) service of the Confirmation Hearing Notice and (ii) service of notice of an

objection or request for estimation of such Claim, if any. The Debtors further propose, in

accordance with Bankruptcy Rule 3018, that as to any creditor filing such a motion, such

creditor's Ballot should not be counted unless allowed by the Court for voting purposes, after

notice and a hearing, pursuant to an order entered at least one business day prior to the Voting

Deadline or as otherwise directed by the Court.

                 39.         The Debtors also propose that creditors must vote all of their Claims)

within the applicable Voting Class under the Proposed Plan either to accept or reject the Plan and

may not split their vote(s), and a Ballot that partially rejects and partially accepts the Plan will

not be counted.

                 40.         The Debtors further propose that the following Ballots not be counted or

considered for any purpose in determining whether the Plan has been accepted or rejected:

(i) any Ballot received after the Voting Deadline unless the Debtors shall have granted in writing

an extension of the Voting Deadline with respect to such Ballot;(ii) any Ballot that is illegible or

contains insufficient information to permit the identification of the Claim holder; (iii) any Ballot

cast by a person or entity that does not hold a Claim in a Class that is entitled to vote to accept or

 reject the Plan; (iv) any Ballot that is unsigned or without an original signature (provided,



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 howeveN, that a Ballot submitted via the online voting portal, as described below, shall be

 deemed to constitute an original signature); and (v) any Ballot transmitted to Prime Clerk by

 facsimile, electronic transmission, or other electronic means not specifically authorized herein.

 Ballots that are properly completed, executed, and timely returned to Prime Clerk, but partially

 accept and partially reject the Plan shall not be counted. Ballots that indicate both an acceptance

 and rejection of the Plan or do not indicate an acceptance or rejection of the Plan shall not be

 counted.

                 41.      The foregoing procedures provide for a fair and equitable voting process

 and should be approved by the Court.

III.        The Voting Record Date

                  42.     Bankruptcy Rule 3017(d) provides, in relevant part, that, for the purposes

 of soliciting votes in connection with the confirmation of a plan of reorganization, "creditors and

 equity security holders [must] include holders of stock, bonds, debentures, notes and other

  securities of record on the date the order approving the disclosure statement is entered or another

  date fixed by the court, for cause, after notice and a hearing." Fed. R. Bankr. P. 3017(d).

                  43.         To identify and set the universe of creditors entitled to vote on the

  Proposed Plan, the Debtors request that the Court set Thursday, March 8, 2018 as the date for

  determining which creditors are entitled to vote on the Proposed Plan (the "Voting Record

  Date"). With respect to transfers of Claims filed pursuant to Bankruptcy Rule 3001(e), the

  transferee shall be entitled to receive a Solicitation Package and, if the holder of such Claim is

  entitled to vote with respect to the Proposed Plan, cast a Ballot on account of such Claim only if:

  all actions necessary to transfer such Claim are completed by the Voting Record Date or the

  transferee files by the Voting Record Date (i) all documentation required by Bankruptcy Rule

  3001(e) to evidence the transfer and (ii) a sworn statement of the transferor supporting the

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validity of the transfer. In the event a Claim is transferred after the Voting Record Date, the

transferee of such Claim shall be bound by any vote on the Proposed Plan made by the holder of

such Claim as of the Voting Record Date.

                  44.      In addition, the Debtors request that the Court establish the Voting Record

 Date as the date for determining which creditors and interest holders in Non-Voting Classes are

 entitled to receive a Notice of Non-Voting Status. The Debtors believe that the Voting Record

 Date is appropriate, as it facilitates the determination of which creditors are entitled to vote on

 the Proposed Plan or, in the case of Non-Voting Creditors acid Interest Holders, to receive the

 Notice ofNon-Voting Status.

IV.         Approval of Solicitation Packages and Procedures for Distribution Thereof

                  45.      Bankruptcy Rule 3017(d) lists the materials that must be provided to

 holders of claims and interests for the purpose of soliciting votes on a chapter 11 plan and

 providing adequate notice of the hearing to consider confirmation thereof.                 Specifically,

 Bankruptcy Rule 3017(d) provides, in relevant part, that:

                  [u]pon approval of a disclosure statement, —except to the extent
                  that the court orders otherwise with respect to one or more
                  unimpaired classes of creditors or equity security holders —the
                  debtor in possession, trustee, proponent of the plan, or clerk as the
                  court orders shall mail to all creditors and equity security holders,
                  and in a chapter 11 reorganization case shall transmit to the United
                  States trustee:

                  (a)          the plan or acourt-approved summary of the plan;

                  (b)          the disclosure statement approved by the court;

                   (c)         notice of the time within which acceptances and rejections of the plan may
                               be filed; and

                   (d)         any other information as the court may direct, including any court opinion
                               approving the disclosure statement or acourt-approved summary of the
                               opinion.



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Fed. R. Bankr. P. 3017(d).

                  46.      The Debtors propose to mail or cause to be mailed solicitation packages

(the "Solicitation Packa es") containing the information described below as soon as practicable

after entry of an order approving the Proposed Disclosure Statement (as approved, the

"Disclosure Statement") as containing adequate information pursuant to section 1125 of the

Bankruptcy Code, but not later than five (5) business days after the date of entry of an order

approving the Disclosure Statement (the "Solicitation Date"), to the U.S. Trustee and holders of

Claims in the Voting Classes, as required by Bankruptcy Rule 3017(d).

                  47.      In accordance with Bankruptcy Rule 3017(d), Solicitation Packages shall

contain copies of:

                  (a)      the Proposed Order, as entered by the Court and without attachments;

                  (b)      the Notice of (I) Approval of Disclosure Statement (II) Establishment of
                           Voting Record Date,(III) Hearing on Confirmation of the Proposed Plan,
                           (IV) Procedures for Objecting to the Confirmation of the Proposed Plan,
                           and (V)Procedures and Deadline for Voting on the Proposed Plan, in
                           substantially the form of Exhibit 8 to the Proposed Order (the
                           "Confirmation Hearin~Notice");

                  (c)          a USB flash drive containing the Disclosure Statement, which shall
                               include the Proposed Plan as an attachment (except as provided below);
                               and

                  (d)          if the recipient is entitled to vote on the Proposed Plan (as set forth herein)
                               a Ballot (as defined below) customized for such holder (if applicable) and
                               conforming to Official Bankruptcy Form No. B 314, in the form described
                               below, and apostage-prepaid return envelope.2

                   48.         To reduce costs and the impact on the environment, the Debtors propose

 to send the Disclosure Statement and Proposed Plan in electronic format on a USB flash drive



 2. Official Bankruptcy Form No. B 314 can be found at http://www.uscourts.gov/forms/bankruptcy-forms, the
    official website for the United States Bankruptcy Courts.



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instead of printed hard copies. Moreover, the Proposed Plan and Disclosure Statement will be

available at no charge via the Internet at http://cases.primeclerk.com/patnat. However, if service

by USB flash drive imposes a hardship for any creditor entitled to receive a copy of the Proposed

Plan and the Disclosure Statement (e.g., the creditor does not own or have access to a computer

or the Internet), the Debtors propose that such creditor may request a paper copy of the Proposed

Plan and the Disclosure Statement by contacting Prime Clerk in writing at Patriot National Ballot

Processing, c/o Prime Clerk LLC,830 Third Avenue, 3rd Floor, New York, New York 10022 or

patnatballots@primeclerk.com. Upon receipt of such request, the Debtors will provide such

creditor with a paper copy of the Proposed Plan and the Disclosure Statement at no cost to the

creditor within five (5) days thereafter.

                 49.         The Debtors will not mail Solicitation Packages to creditors that have

Claims that the Debtors have determined have already been paid in full or on account of clearly

duplicative Claims; provided, howeveN, that if any such creditor would be entitled to receive a

Solicitation Package for any other reason, then the Debtors will send such creditor a Solicitation

Package in accordance with the procedures set forth herein.

                 50.         The Debtors anticipate that the United States Postal Service may return

some Solicitation Packages as undeliverable. The Debtors submit that it is costly and wasteful to

mail Solicitation Packages to the same addresses from which mail previously was returned as

undeliverable. Therefore, the Debtors request the Court waive the strict notice rule and excuse

the Debtors from mailing Solicitation Packages to addresses from which the Debtors received

mailings returned as undeliverable, unless the Debtors are provided with a new mailing address

sufficiently before the Voting Deadline.




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                51.      Although the Debtors have made, and will make, every effort to ensure

that the Solicitation Packages as described herein and as approved by the Court are in final form,

the Debtors nonetheless request authority to make non-substantive changes in accordance with

the terms of the RSA,to which the Debtors are a party, to the Disclosure Statement, the Proposed

Plan, and related documents without further order of the Court, including ministerial changes to

correct typographical and grammatical errors, and to make conforming changes among the

Disclosure Statement, the Proposed Plan, and any other materials in the Solicitation Packages

prior to mailing.

                 52.     The Debtors submit that they have shown good cause for implementing

the proposed notice and service procedures and request the Court's approval thereof.

V.         Appro~~al of Notices of Non-Voting Status

                 53.     Bankruptcy Rule 3017(d) permits a court to order that the Proposed Plan

and Disclosure Statement need not be mailed to unimpaired classes.                In lieu thereof, a

bankruptcy court may order that "notice that the class is designated in the plan as unimpaired and

notice of the name and address of the person from whom the plan or summary of the plan and

disclosure statement may be obtained upon request and at the plan proponent's expense, [and]

notice of the time fixed for filing objections to and the hearing on confirmation" be mailed to

such classes.

                 54.         As discussed above, the Non-Voting Classes are either (i) unimpaired and

presumed to accept the Proposed Plan or (ii) impaired and deemed to reject the Proposed Plan.

Accordingly, the Debtors propose to mail to holders of Class 2(Other Secured Claims) and Class

3 (Priority Claims) the Confirmation Hearing Notice and the Notice of Non-Voting Status —

Unimpaired Classes, in lieu of a Solicitation Package. The Debtors propose to mail to holders of



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Class 8 (Equity Interests) the Confirmation Hearing Notice and the Notice ofNon-Voting Status

— Impaired Classes, in lieu of a Solicitation Package.

                 55.     Each Notice of Non-Voting Status provides (a) notice of the approval of

the Disclosure Statement,(b) notice of the filing of the Proposed Plan,(c) notice of the holder's

non-voting status, and (d)information on how to obtain copies of the Disclosure Statement and

Proposed Plan.

                 56.     The Debtors submit that mailing the applicable Notice of Non-Voting

 Status and Confirmation Hearing Notice to Non-Voting Classes satisfies the requirements of

Bankruptcy Rule 3017(d). Accordingly, the Debtors request that the Court direct that the

 Solicitation Package need not be mailed to Non-Voting Creditors and Interest Holders.

 Additionally, with respect to Class 7(Intercompany Claims), the Debtors request a waiver of any

 requirement to serve a Notice of Non-Voting Status or any other type of notice in connection

 with solicitation ofthe Proposed Plan because such Claims are held by the Debtors' affiliates and

 are deemed to reject the Proposed Plan under section 1126(g) of the Bankruptcy Code.

VI.        Tlie Voting Deadline

                 57.         Bankruptcy Rule 3017(c) provides that, "[o]n or before approval of [a]

 disclosure statement, the court shall fix a time within which the holders of claims and interests

 may accept or reject [a] plan...." Fed. R. Bankr. P. 3017(c). The Debtors anticipate completing

 substantially all mailing of the Solicitation Packages by the Solicitation Date. Based on such

 schedule, the Debtors propose that, to be counted as a vote to accept or reject the Proposed Plan,

 each Ballot must be properly executed, completed, and delivered to Prime Clerk: (a) by first

 class mail (whether in the return envelope provided with each Ballot or otherwise); (b) by

 overnight courier;(c) by hand delivery or (d) via Prime Clerk's online balloting portal so that it

 is actually received by Prime Clerk no later than Frida3~, April 13, 2018 at 4:00 p.m.(Easter~i

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Time) (the "Voting; Deadline").           The Debtors submit that the proposed thirty (30) day

solicitation period is a sufficient period within which creditors can make an informed decision

whether to accept or reject the Proposed Plan.

                 58.     In addition to accepting hard copy Ballots via first class mail, overnight

courier, and hand delivery, the Debtors request authorization to accept Ballots via electronic,

online transmissions, solely through a customized online balloting portal on the Debtors' case

website to be maintained by Prime Clerk. Parties entitled to vote may cast an electronic Ballot

and electronically sign and submit the Ballot instantly by utilizing the online balloting portal

(which allows a holder to submit an electronic signature). If applicable, instructions for

electronic, online transmission of Ballots will be set forth on the forms of Ballots. The encrypted

ballot data and audit trail created by such electronic submission shall become part of the record

of any Ballot submitted in this manner and the creditor's electronic signature will be deemed to

be immediately legally valid and effective.

                                           CONFIRMATION

I.         The Confirmation Hearin

                 59.         Bankruptcy Rule 3017(c) provides that, "[o]n or before approval of the

disclosure statement, the court shall ... fix a date for the hearing on confirmation" of a chapter

11 plan. Fed. R. Bankr. P. 3017(c). Pursuant to Bankruptcy Rule 2002(b), creditors must

receive at least twenty-eight (28) days' notice of a confirmation hearing. In accordance with

these rules, and in view of the Debtors' proposed solicitation schedule outlined herein, the

Debtors request that a hearing on confirmation of the Proposed Plan (the "Confirmation

Hearing") be scheduled for Tuesday, April 24, 2Q18 at 10:04 a.m.(Eastern Time), or on such

date and time as is convenient to the Court. The Confirmation Hearing may be adjourned or

continued from time to time by the Court or the Debtors without further notice other than

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adjournments announced in open Court or as indicated in any notice of agenda of matters

scheduled for hearing filed with the Court. The Debtors request that the Court find that the

proposed date for the Confirmation Hearing is in compliance with the Bankruptcy Rules and the

Local Rules, and will enable the Debtors to pursue confirmation of the Proposed Plan in a timely

fashion.

II.        Objection Procedures

                 60.     Pursuant to Bankruptcy Rule 3020(b)(1), objections to confirmation of a

plan must be filed and served "within a time fixed by the court." Bankruptcy Rule 2002(b)

provides that parties must receive at least twenty-eight(28) days' notice of the deadline for filing

objections to confirmation. Accordingly, and in view of the Debtors' proposed solicitation

schedule outlined herein, the Debtors propose Frida3~, April 13, 2018 at 4:00 p.ni. (Eastern

 Time) as the deadline to object or respond to confirmation of the Proposed Plan (the "Plan

 Confirmation Objection Deadline")

                 61.         The Debtors request that objections and responses, if any, to confirmation

 of the Proposed Plan: (a) be in writing; (b)conform to the Bankruptcy Rules and the Local

 Rules; (c) set forth the name of the objecting party and the nature and amount of Claims or

 Interests held or asserted by the objecting party against the Debtors' estates or property; and

(d)provide the basis for the objection and the specific grounds thereof.

                 62.         The Debtors further request that registered users of the Bankruptcy

 Court's case filing system must electronically file their objections and responses. All other

 parties in interest must file their objections and responses in writing with the United States

 Bankruptcy Court Clerk's Office, 824 Market Street, 3rd Floor, Wilmington, Delaware 19801.

                 63.         Any objection or response also must be served upon and received by the

 Notice Parties no later than the Plan Confirmation Objection Deadline. Pursuant to Bankruptcy

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 Rule 3020(b),"[i]f no objection is timely filed, the [C]ourt may determine that the plan has been

 proposed in good faith and not by any means forbidden by law without receiving evidence on

 such issues." Fed. R. Bankr. P. 3020(b)(2).

                 64.      The Debtors submit that, if there are objections to confirmation, they will

 assist the Court and may expedite the Confirmation Hearing if the Debtors reply to any such

 objections. Accordingly, the Debtors request that they be authorized to file and serve an

 omnibus reply (the "Omnibus Reply") to any such objections in accordance with Local Rule

 9006-1(d) and that the Court set ~rida~r, April 20, 201 at 4.00 ~.m. (Eastern Tiyi~e) as the

 deadline for filing and service of replies or an Omnibus Reply to any objections to confirmation

 of the Proposed Plan.

                  65.     The Debtors also request that the Court establish Friday, April 20, 2018

 at 4:00 p.m. (Eastern Time) as the deadline for the Debtors to file its brief in support of

 confirmation of the Proposed Plan (the "Confirmation Brief').

                  66.         The Debtors respectfully request that the Court approve the procedures for

 filing objections to the Proposed Plan and replies thereto and find that such procedures comply

 with Bankruptcy Rules 2002, 3017, and 3020.

III.        Confirmation Hearing Notice

                  67.         Pursuant to Bankruptcy Rule 3017(d), notice of a plan confirmation

 objection deadline and hearing must be provided to all creditors and equity security holders in

 accordance with Bankruptcy Rule 2002. Bankruptcy Rules 2002(b) and (d) require notice to all

 creditors, indenture trustees, and equity security holders of the time set for filing objections to,

 and the hearing to consider confirmation of a plan.

                  68.         In accordance with the foregoing, by aao later thin the Solicitation Date,

  the Debtors propose to provide a copy of the Confirmation Hearing Notice setting forth (a)the

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Voting Deadline, (b)the Plan Objection Deadline and procedures for filing objections and

responses to confirmation of the Proposed Plan, and (c)the time, date, and place for the

Confirmation Hearing, with service provided by electronic and/or first class mail on the Notice

Parties.

                 69.      The Debtors submit that the foregoing notice procedures comply with all

notice requirements under Bankruptcy Rules 3017(d) and 2002(b) and (d). Accordingly, the

Debtors request that the Court find that such notice is due and proper and no further notice is

necessary.

                                                 NOTICE

                 70.      Notice of this Motion shall be provided to (i) the Office of the United

States Trustee for the District of Delaware; (ii) counsel for Cerberus Business Finance, LLC, as

the administrative agent for the proposed DIP Lenders and for the prepetition secured lenders;

and (iii) those parties listed on the list of creditors holding the twenty (20) largest unsecured

claims against the Debtors (on a consolidated basis), as identified in their chapter 11

petitions. The Debtors respectfully submit that, in light of the nature of the relief requested, no

other or further notice need be given.

                                          NO PRIOR REQUEST

                  71.         No previous request for the relief sought herein has been made by the

Debtors to this or any other court.




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                  WHEREFORE, the Debtors respectfully request that this Court grant the relief

requested herein and such other and further relief as it may deem just and proper.


Dated: January 30, 2018                     PACHUL            TANG ZIEHL &JONES LLP
      Wilmington, Delaware                    ~.-~.~             -~---~~ ~
                                             /— /iil . n r~      n e n i

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